(1 of 18), Page 1 of 18     Case: 24-6256, 10/24/2024, DktEntry: 25.1, Page 1 of 18




                                           Nos. 24-6256, 24-6274


                           IN THE UNITED STATES COURT OF APPEALS
                                   FOR THE NINTH CIRCUIT
                                         ______________________
                                             EPIC GAMES, INC.,
                                             Plaintiff-Appellee,
                                                      v.
                                            GOOGLE LLC, et al.,
                                           Defendants-Appellants
                                        ______________________
                               On Appeal from an Order of the United States
                            District Court for the Northern District of California
                                          ______________________
                                  United States District Judge James Donato
                                Case No. 3:20-cv-05671-JD, 3:21-md-02981-JD


                    BRIEF OF AMICUS CURIAE INTERNATIONAL CENTER FOR
                       LAW & ECONOMICS IN SUPPORT OF APPELLANTS’
                         EMERGENCY MOTION FOR PARTIAL STAY OF
                         PERMANENT INJUNCTION PENDING APPEAL


              WILLKIE FARR & GALLAGHER LLP                   WILLKIE FARR & GALLAGHER LLP
              Matthew Freimuth                               Jonathan A. Patchen
              mfreimuth@willkie.com                          JPatchen@willkie.com
              787 Seventh Avenue                             333 Bush Street
              New York, NY                                   San Francisco, CA 94104
              Telephone: (212) 728-8000                      Telephone: (415) 858-7400
              Facsimile: (212) 728-8111                      Facsimile: (415) 858-7599


                   Counsel for Amicus Curiae International Center for Law and Economics

             October 23, 2024
(2 of 18), Page 2 of 18     Case: 24-6256, 10/24/2024, DktEntry: 25.1, Page 2 of 18




                              CORPORATE DISCLOSURE STATEMENT

                    Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure, amicus

             International Center for Law & Economics states that it does not have a parent

             corporation and that no publicly held corporation owns 10% or more of its stock.



             Date: October 23, 2024                       By: /s/ Jonathan A. Patchen___
                                                          Jonathan A. Patchen
                                                          Willkie Farr & Gallagher LLP
                                                          JPatchen@willkie.com
                                                          333 Bush Street
                                                          San Francisco, CA 94104
                                                          Telephone: (415) 858-7400
                                                          Facsimile: (415) 858-7599

                                                          Counsel for Amicus Curiae
                                                          International Center for Law and
                                                          Economics
(3 of 18), Page 3 of 18           Case: 24-6256, 10/24/2024, DktEntry: 25.1, Page 3 of 18




                                                     TABLE OF CONTENTS


             TABLE OF AUTHORITIES .................................................................................... ii

             STATEMENT OF INTEREST .................................................................................. 1

             INTRODUCTION AND SUMMARY OF ARGUMENT ........................................ 1

             ARGUMENT ............................................................................................................. 3

                      I.       GOOGLE IS LIKELY TO WIN ITS APPEAL ON THE
                               MERITS ................................................................................................ 3

                               A.       Google Play And Apple’s App Store Compete In the
                                        Same Product Market .................................................................. 3

                               B.       Google’s Conduct Has Significant Pro-Competitive
                                        Justifications................................................................................ 4
                      II.      ANTITRUST GENERALLY REPUDIATES A DUTY TO
                               DEAL, IN CONTRAST WITH THE DECISION AND
                               INJUNCTION BELOW ........................................................................ 7

             CONCLUSION ........................................................................................................11
             CERTIFICATE OF COMPLIANCE ....................................................................... 12

             CERTIFICATE OF SERVICE ................................................................................13




                                                                         i
(4 of 18), Page 4 of 18           Case: 24-6256, 10/24/2024, DktEntry: 25.1, Page 4 of 18




                                                  TABLE OF AUTHORITIES
             CASES
             Allied Orthopedic Applicants Inc. v. Tyco Health Care Grp. LP,
                    592 F.3d 991 (9th Cir. 2010) ......................................................................... 10
             Aspen Skiing Co. v. Aspen Highlands Skiing Corp.,
                  472 U. S. 585 (1985)........................................................................................ 7
             Associated Press v. United States,
                   326 U.S. 1 (1945)............................................................................................. 9
             Epic Games, Inc. v. Apple Inc.,
                   559 F. Supp. 3d 898 (N.D. Cal. 2021)............................................................. 2
             Epic Games, Inc. v. Apple Inc.,
                   67 F.4th 946 (9th Cir. 2023) ........................................................................2, 3
             In re Google Play Store Antitrust Litig.,
                    3:20-cv-05671-JD, Dkt. No. 850 (N.D. Cal. Dec. 6, 2023) ............................ 4
             In re Google Play Store Antitrust Litigation,
                    3:20-cv-05671-JD, Dkt. No. 701 (N.D. Cal. Oct. 7, 2024) ............................. 8
             Leegin Creative Leather Products, Inc. v. PSKS, Inc.,
                   551 U.S. 877 (2007)......................................................................................... 5
             Levia-Perez v. Holder,
                   640 F.3d 962 (9th Cir. 2011) ........................................................................... 3
             MetroNet Servs. Corp. v. Qwest Corp.,
                  383 F.3d 1124 (9th Cir. 2004) ......................................................................... 9
             Ohio v. Am. Express Co.,
                   585 U.S. 529 (2018)......................................................................................... 4
             Optronic Techs., Inc. v. Ningbo Sunny Elec. Co., Ltd.,
                  20 F.4th 466 (9th Cir. 2021) ............................................................................ 8
             United States v. Colgate & Co.,
                   250 U.S. 300 (1919)......................................................................................... 7
             Verizon Communications Inc. v. Law Offices of Curtis Trinko,
                   540 U.S. 398 (2004)................................................................................... 7, 10


                                                                       ii
(5 of 18), Page 5 of 18          Case: 24-6256, 10/24/2024, DktEntry: 25.1, Page 5 of 18




             OTHER AUTHORITIES
             Wright, J. (2004) One-sided Logic in Two-sided Markets.
                  Review of Network Economics, Vol. 3 (Issue 1) ............................................ 5
             Ronald H. Coase, Lecture to the Memory of Alfred Nobel, Dec. 9, 1991,
                  https://www.nobelprize.org/prizes/economic-
                  sciences/1991/coase/lecture/ ..........................................................................10
             University. of Iowa Legal Studies Research Paper No. 08-31, Jul. 14, 2008),
                  http://bit.ly/33Q5fIM ....................................................................................... 9




                                                                     iii
(6 of 18), Page 6 of 18     Case: 24-6256, 10/24/2024, DktEntry: 25.1, Page 6 of 18




                                       STATEMENT OF INTEREST

                    The International Center for Law & Economics (“ICLE”) is a nonprofit, non-

             partisan global research and policy center aimed at building the intellectual

             foundations for sensible, economically grounded policy. ICLE promotes the use of

             law and economics methodologies and economic learning to inform policy debates

             and has longstanding expertise evaluating antitrust law and policy.

                    ICLE has an interest in ensuring that antitrust law promotes the public interest

             by remaining grounded in sensible rules informed by sound economic analysis. That

             includes advising against far-reaching injunctions that could deteriorate the quality

             of mobile ecosystems, thereby harming the interests of consumers and app

             developers.1

                          INTRODUCTION AND SUMMARY OF ARGUMENT
                    The district court issued an injunction that would alter agreements between

             Google and over 500,000 non-party U.S. app developers and require redesign of

             Google’s app store, Google Play. It has purportedly done so to remediate the antitrust

             claims of a single competitor, Epic Games, which has no apps on Google Play; and

             it has done so notwithstanding that Epic lost a parallel antitrust challenge to Apple


             1
              ICLE represents that no party’s counsel authored this brief in whole in in part, no
             party or party’s counsel contributed money that was intended to fund preparing or
             submitting the brief, and no person—other than ICLE and its counsel—contributed
             money that was intended to fund preparing or submitting the brief. ICLE files this
             brief with the consent of all parties.
                                                        1
(7 of 18), Page 7 of 18     Case: 24-6256, 10/24/2024, DktEntry: 25.1, Page 7 of 18




             following a bench trial, Epic Games, Inc. v. Apple Inc., 559 F. Supp. 3d 898 (N.D.

             Cal. 2021), a decision affirmed by this Court. Epic Games, Inc. v. Apple Inc., 67

             F.4th 946 (9th Cir. 2023). The injunction poses risks to the safety, security, and

             reputation of Google Play—risks highly likely to harm competition between Google

             Play and its leading competitor, Apple’s App Store. That harm to competition would,

             in turn, harm consumers on both sides of the Google Play platform: end-consumers

             of the apps available on the platform and the app developers who depend on the

             platform to reach those end-consumers.

                    A stay of the district court’s injunction pending appeal should be granted

             because, inter alia, there is a substantial likelihood that Google will win its appeal

             on the merits and because the terms of the injunction are inconsistent with

             established case law.

                    First, the injunction is predicated on an erroneous market definition that

             excludes Apple from the relevant market. That error obscures the nature of

             competition at issue in the case, and it supports a false ascription of market power to

             Google Play. Having improperly permitted the jury to exclude Apple from the

             relevant market, the district court did not permit proper consideration of the pro-

             competitive justifications for Google’s conduct, which are significant in a two-sided

             transaction market like the one in which Google competes. Compounding the




                                                       2
(8 of 18), Page 8 of 18     Case: 24-6256, 10/24/2024, DktEntry: 25.1, Page 8 of 18




             problem, the injunction threatens to undermine many of the pro-competitive benefits

             of Google’s conduct.

                    Second, the injunction would impose a duty to deal that is generally

             repudiated under the antitrust laws. While a narrow duty to deal may be imposed as

             a remedy under special circumstances, the injunction issued below exceeds the

             bounds of established exceptions to the general rule.

                    Given the significant risks posed by the district court’s injunction, and the

             likelihood of Google’s ultimate success in its appeal on the merits, ICLE urges the

             Court to grant Google’s motion and issue a stay of the district court’s injunction

             pending appeal.

                                                ARGUMENT

             I.      GOOGLE IS LIKELY TO WIN ITS APPEAL ON THE MERITS.

                    Google “has made a strong showing that [it] is likely to succeed on the

             merits”—a key factor for courts deciding whether to issue a stay pending appeal.

             Levia-Perez v. Holder, 640 F.3d 962, 964 (9th Cir. 2011) (per curiam).

                    A.    Google Play And Apple’s App Store Compete
                          In the Same Product Market.
                    This Court has already recognized parallels between Epic’s antitrust and state

             law challenges to Google Play’s policies and Apple’s App Store policies. Epic

             Games, Inc. v. Apple Inc., 67 F.4th 946, 969 n.3 (9th Cir. 2023), and it has rightly

             rejected Epic’s assertion of a single-brand market. Id. at 980–81. The finding of a

                                                       3
(9 of 18), Page 9 of 18     Case: 24-6256, 10/24/2024, DktEntry: 25.1, Page 9 of 18




             multi-brand market in Epic v. Apple was correct and should apply here. Ignoring the

             competition between Apple’s App Store and Google Play creates a false sense of

             Google’s market share, as Google and Apple compete for apps and, importantly, to

             have app developers develop apps for their platforms first.

                    B.    Google’s Conduct Has Significant Pro-Competitive Justifications.
                    The district court correctly recognized that “the Google Play Store is a “two-

             sided platform market” that “offers products or services to two different groups who

             both depend on the platform to intermediate between them.” In re Google Play Store

             Antitrust Litig., 3:20-cv-05671-JD, Dkt. No. 850, at ECF p. 22 (N.D. Cal. Dec. 6,

             2023) (Final Jury Instructions, Instruction No. 18). For Google Play, “developers

             who wish to sell their apps” are on one side of the market and “consumers that wish

             to buy those apps” are on the other. Id.

                    Firms in two-sided markets commonly use vertical restrictions like those

             challenged by Epic—including anti-steering provisions—to serve legitimate aims.

             These legitimate aims include allowing for the recoupment of investments, and to

             provide tangible procompetitive benefits such as increased privacy, security, and

             market-wide output. Given this, the Supreme Court, in Ohio v. Am. Express Co.,

             585 U.S. at 544–45 (“Amex”), ruled that “there is nothing inherently

             anticompetitive about . . . antisteering provisions.” Id. at 551. Such vertical

             provisions can, among other things, prevent merchants from free-riding, thereby


                                                        4
(10 of 18), Page 10 of 18     Case: 24-6256, 10/24/2024, DktEntry: 25.1, Page 10 of 18




             increasing the availability of “‘tangible or intangible services or promotional

             efforts’ that enhance competition and consumer welfare.” Id. at 2290 (quoting

             Leegin Creative Leather Products, Inc. v. PSKS, Inc., 551 U.S. 877, 890-91 (2007)).

                      The benefits of these provisions are conspicuous when app stores are correctly

             assessed holistically, as two-sided transaction markets; conversely, they are

             obscured if one applies “one sided logic to two sided markets.” Wright, J. (2004)

             One-sided Logic in Two-sided Markets. Review of Network Economics, Vol. 3

             (Issue 1). Just as in Amex, there are procompetitive reasons for the provisions at

             issue.

                      First, as indicated above, the contractual provisions help prevent free-riding,

             which, if left untreated, would undermine Google’s incentives to maintain and

             improve Google Play, thereby leading to diminished product quality and reduced

             output. The problem of free-riding is front and center in the district court’s

             injunction. Google owns valuable resources that it has created and steadily

             improved. These include Google Play, which provides users in the Android

             ecosystem with a convenient and secure means of acquiring the applications (Tr.

             1141:2–17) that are “essential components of smartphones” (Tr. 2456:18–20).

             Among other things, the injunction would require Google to make its catalog of two-

             plus-million apps appear in competitors’ app stores and to distribute rival app stores.

             Epic would also like free access to Android users and, specifically, Google Play.


                                                         5
(11 of 18), Page 11 of 18   Case: 24-6256, 10/24/2024, DktEntry: 25.1, Page 11 of 18




             None of these parties would be in position to maintain the Android ecosystem in the

             same way Google does. Given this, reducing the fees Epic pays to Google may

             benefit Epic while harming consumers, as Google would have less incentive to

             invest in its ecosystem.

                    Second, steering consumers to other payment systems, together with catalog

             sharing and third-party app store distribution, could expose Google Play users to

             privacy, security, and safety issues, among others. These are moving targets online,

             but the injunction would limit Google’s efforts to serve these critical consumer

             interests, as Google would have to prove that any measures it takes with respect to

             third-party app stores and their apps “are strictly necessary and narrowly tailored.”

                    In brief, the injunction undercuts the procompetitive rationale recognized by

             the Supreme Court in Amex and by this Court in Epic v. Apple. Absent intervention

             by this Court, Google will have to comply with a nationwide injunction that

             undercuts these benefits. That is directly relevant to the merits of the remedies

             decision below, as there is no credible argument that the broad sweep of the

             injunction—across all of Google’s agreements with all app developers who do, or

             will, market their apps via Google Play—is necessary to remedy the alleged harm

             to the sole plaintiff in this case. It also is relevant to the question of liability where

             the district court’s jury instructions precluded the jury’s consideration of precisely

             the cross-market effects contemplated in Amex.


                                                         6
(12 of 18), Page 12 of 18   Case: 24-6256, 10/24/2024, DktEntry: 25.1, Page 12 of 18




             II.    ANTITRUST GENERALLY REPUDIATES A DUTY TO DEAL, IN
                    CONTRAST WITH THE DECISION AND INJUNCTION BELOW

                    Antitrust law largely repudiates the notion that firms have a “duty to deal.” As

             the Supreme Court has observed, “as a general matter, the Sherman Act “does not

             restrict the long recognized right of [a] trader or manufacturer engaged in an entirely

             private business, freely to exercise his own independent discretion as to parties with

             whom he will deal.” Verizon Communications Inc. v. Law Offices of Curtis Trinko,

             540 U.S. 398, 408 (2004) (quoting United States v. Colgate & Co., 250 U.S. 300,

             307 (1919)). That general antitrust principle is “not unqualified.” Aspen Skiing Co.

             v. Aspen Highlands Skiing Corp., 472 U. S. 585, 601 (1985). However, as the Trinko

             Court made clear, Aspen Skiing “is at or near the outer boundary of § 2 liability.”

             Trinko, 540 U.S. at 409. At that outer boundary, to terminate dealing with an

             established customer, when that decision makes no economic sense but for its

             anticompetitive effects, may be anticompetitive. Id.

                    The district court correctly observed this general principle in Jury Instruction

             No. 24: “As a general rule, businesses are free to choose the parties with whom they

             will deal, as well as the prices, terms, and conditions of that dealing. . . . It is not

             unlawful for Google to prohibit the distribution of other app stores through the

             Google Play Store, and you should not infer or conclude that doing so is unlawful in

             any way.”



                                                        7
(13 of 18), Page 13 of 18   Case: 24-6256, 10/24/2024, DktEntry: 25.1, Page 13 of 18




                  Nonetheless, the district court has issued an injunction that would, inter alia,

             require Google to make its catalog of apps available in competitors’ app stores and

             to distribute rival app stores through the Google Play Store. The district court

             reasoned that, “[i]if the jury finds that monopolization or attempted monopolization

             has occurred, the available injunctive relief is broad, including to terminate the

             illegal monopoly, deny to the defendant the fruits of its statutory violation, and

             ensure that there remain no practices likely to result in monopolization.” In re

             Google Play Store Antitrust Litigation, 3:20-cv-05671-JD, Dkt. No. 701, at 6 (N.D.

             Cal. Oct. 7, 2024) (quoting Optronic Techs., Inc. v. Ningbo Sunny Elec. Co., Ltd.,

             20 F.4th 466, 486 (9th Cir. 2021)).

                    The case law does not, however, suggest that any and all remedies are

             warranted given a finding of antitrust liability. First, “relief must be based on a

             ‘clear indication of a significant causal connection between the conduct enjoined or

             mandated and the violation.’” Optronic, 20 F.4th at 486 (quoting United States v.

             Microsoft Corp., 253 F.3d 34, 105 (D.C. Cir. 2001)). In Microsoft, the causal

             connection between conduct and harm was merely inferred, not proven. At the

             remedy phase, that was deemed insufficient to sustain a remedy allegedly aimed at

             correcting anticompetitive harm. Here, however, the connection between the

             conduct to be remedied and the alleged harm is not even alleged (let alone inferred).

             Indeed, it was specifically disclaimed by the court in Jury Instruction No. 24.


                                                       8
(14 of 18), Page 14 of 18   Case: 24-6256, 10/24/2024, DktEntry: 25.1, Page 14 of 18




                    Also, in Optronic, this court sought to remediate discriminatory contract

             terms, providing that all similarly situated customers be provided access on similar

             terms. Analogous remedies may be a feasible in circumstances where the antitrust

             harm alleged stems from discriminatory treatment. See also, e.g., Associated Press

             v. United States, 326 U.S. 1 (1945).

                    Imposing a duty to deal with new firms, on new terms, is a different matter

             entirely. In Associated Press, for example, “[t]he Court did not reach the question

             whether AP was obliged to admit any newcomers at all. Although Justice

             Frankfurter’s concurring opinion agreed with the divided lower court that a business

             clothed in a public interest must deal with all, the Court expressly disclaimed any

             such ‘public utility concept.’” Herbert Hovenkamp, Unilateral Refusals to Deal,

             Vertical Integration, and the Essential Facility Doctrine 10 (University. of Iowa

             Legal Studies Research Paper No. 08-31, Jul. 14, 2008), http://bit.ly/33Q5fIM. And

             in MetroNet this court recognized that Trinko does not require a defendant to

             provide access to a competitor if it isn’t already providing access elsewhere. See

             MetroNet Servs. Corp. v. Qwest Corp., 383 F.3d 1124, 1132 (9th Cir. 2004).

                    A remedy mandating the distribution of app stores is equivalent to a

             determination that the failure to distribute constitutes a violation of the law—

             contradicting both the jury instruction and settled case law. Imposing a duty to deal

             without a showing of anticompetitive effect imposes liability by inference: in effect,


                                                       9
(15 of 18), Page 15 of 18   Case: 24-6256, 10/24/2024, DktEntry: 25.1, Page 15 of 18




             it circumvents rule of reason analysis and assumes anticompetitive harm. See Id. at

             28 (“[Unilateral refusal to deal under Sec. 2] comes dangerously close to being a

             form of ‘no-fault’ monopolization[.]”).

                    As noted above, privacy, security, and platform management challenges are

             ubiquitous, moving targets from both technical and business standpoints, and the

             injunction would limit Google’s ongoing efforts to serve critical consumer interests,

             as Google would have to prove that any measures it takes with respect to third-party

             app stores and their apps “are strictly necessary and narrowly tailored.” That

             requirement is at odds with basic antitrust principles, as it assigns to an untested,

             court-created committee countless management decisions about both Google Play

             and the Android operating system. That is tantamount to central planning.

             Economics has, with increasing rigor and empirical evidence, documented the

             disadvantages of central planning since Adam Smith’s The Wealth of Nations. See

             Ronald H. Coase, Lecture to the Memory of Alfred Nobel, Dec. 9, 1991,

             https://www.nobelprize.org/prizes/economic-sciences/1991/coase/lecture/. Courts,

             too, have long recognized that they are ill-suited to balancing the “benefits of an

             improved product design against the resulting injuries to competitors.” See Allied

             Orthopedic Applicants Inc. v. Tyco Health Care Grp. LP, 592 F.3d 991, 991, 1000

             (9th Cir. 2010); see also Trinko LLP, 540 U.S. at 408.




                                                       10
(16 of 18), Page 16 of 18   Case: 24-6256, 10/24/2024, DktEntry: 25.1, Page 16 of 18




                                               CONCLUSION

                    For the foregoing reasons, we urge the Court to stay the district court’s

             injunction pending Google’s appeal on the merits.

                                                           WILLKIE FARR & GALLAGHER LLP

              WILLKIE FARR & GALLAGHER LLP                    By: /s/ Jonathan A. Patchen
              Matthew Freimuth                                Jonathan A. Patchen
              mfreimuth@willkie.com                           JPatchen@willkie.com
              787 Seventh Avenue                              333 Bush Street
              New York, NY                                    San Francisco, CA 94104
              Telephone: (212) 728-8000                       Telephone: (415) 858-7400
              Facsimile: (212) 728-8111                       Facsimile: (415) 858-7599
                   Counsel for Amicus Curiae International Center for Law and Economics




                                                      11
(17 of 18), Page 17 of 18   Case: 24-6256, 10/24/2024, DktEntry: 25.1, Page 17 of 18




                                 UNITED STATES COURT OF APPEALS
                                      FOR THE NINTH CIRCUIT

                                Form 8. Certificate of Compliance for Briefs

             9th Cir. Case Number(s) 24-6256, 24-6274

                    I am the attorney or self-represented party.

                    This brief contains 2,361 words, including 0 words manually counted in any

             visual images, and excluding the items exempted by FRAP 32(f). The brief’s type

             size and typeface comply with FRAP 32(a)(5) and (6).

                    I certify that this brief (select only one):
             [ ] complies with the word limit of Cir. R. 32-1.

             [ ] is a cross-appeal brief and complies with the word limit of Cir. R. 28.1-1.
             [XX] is an amicus brief and complies with the word limit of FRAP 29(a)(5), Cir. R.
               29-2(c)(2), or Cir. R. 29-2(c)(3).
             [ ] is for a death penalty case and complies with the word limit of Cir. R. 32-4.
             [ ] complies with the longer length limit permitted by Cir. R. 32-2(b) because (select
                 only one):
                    [ ] it is a joint brief submitted by separately represented parties.
                    [ ] a party or parties are filing a single brief in response to multiple briefs.
                    [ ] a party or parties are filing a single brief in response to a longer joint brief.

             [ ] complies with the length limit designated by court order dated _____________.

             [ ] is accompanied by a motion to file a longer brief pursuant to Cir. R. 32-2(a).


             Signature /s/ Jonathan A. Patchen                        Date October 23, 2024




                                                         12
(18 of 18), Page 18 of 18   Case: 24-6256, 10/24/2024, DktEntry: 25.1, Page 18 of 18




                                      CERTIFICATE OF SERVICE

                    I certify that on this 23rd day of October 2024, the foregoing brief was filed

             using the Court’s ACMS system. All participants in the case are registered ACMS

             users and will be served electronically via that system.


             Dated: October 23, 2024                       /s/ Jonathan A. Patchen
                                                           Jonathan A. Patchen




                                                      13
